Case 14-51529-wlh     Doc 75   Filed 10/19/20 Entered 10/19/20 09:15:58   Desc Main
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                                                              PLEASE TYPE OR PRINT



                 UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF GEORGIA

                       Request for Change of Address
           Ronald Jean Martin Agenor and Tonya Williams Agenor
Case Name: _____________________________________________________

          14-51529
Case No.: _______________ Chapter: 7_______

Change of Address for:
                          ✔ Attorney for Debtor ___ Attorney for Creditor___
     Debtor ___ Creditor ___

Change for:
                                                             ✔
     Notices ONLY ___ Payments ONLY ___ Notices and Payments ___

EFFECTIVE DATE OF CHANGE:              October 19, 2020
                                       ___________________

Name:                                   Atlas Acquisitions LLC
                                       ______________________________________
Prior Address:                          294 Union St.
                                       ______________________________________
                                        Hackensack, NJ 07601
                                       ______________________________________
                                       ______________________________________

************************************************************************

New Address:                           492C Cedar Lane, Ste 442
                                       ______________________________________
                                       Teaneck, NJ 07666
                                       ______________________________________
                                       ______________________________________


Change of Address Was Furnished By:                         ✔
                                       Debtor_____ Creditor_____ Attorney _____

Date: _________
      October 19, 2020                               /s/Avi Schild
                                 Signature of Filer: _____________________________
                                                       888.762.9889
                                 Telephone Number: _________________________


                               IF FILED BY ATTORNEY

Attorney Name:                         ____________________________________
Bar ID:                                ____________________________________
Address:                               ____________________________________
                                       ____________________________________

Revised August 2012
